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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                            Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,
                                             FILED UNDER SEAL
                Defendant.



                JOINT MOTION REGARDING PROPOSED REDACTIONS

       The United States of America and defendant Concord Management and Consulting, LLC

hereby submit proposed redactions to the transcript of the August 26, 2019 sealed telephonic

conference. The proposed redactions concern information about investigative techniques

implicated by portions of the U.S. Sensitive discovery. This Court has previously ruled that this

information implicates significant national security and law enforcement interests. Doc. 161, at

12-17. Those same interests justify the limited proposed redactions attached as Exhibit A.

       The Court has the inherent power to seal court filings when appropriate. United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435

U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the

decision whether to permit access is best left to the sound discretion of the trial court in the light

of the relevant facts and circumstances of the particular case).

       While there is a “strong presumption in favor of public access to judicial proceedings,”

Johnson v. Greater SE Cmty. Hosp. Corp., 951 F.2d 1268, 1277 (D.C. Cir. 1991), that

presumption is not absolute. In Hubbard, the D.C. Circuit identified six factors “that might act



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to overcome this presumption.” United States v. Harris, 204 F. Supp. 3d 10, 16 (D.D.C. 2016).

They are: “(1) the need for public access to the documents at issue; (2) the extent of previous

public access to the documents; (3) the fact that someone has objected to disclosure, and the

identity of that person; (4) the strength of any property and privacy interests asserted; (5) the

possibility of prejudice to those opposing disclosure; and (6) the purposes for which the

documents were introduced during the judicial proceedings.” Id. (citation omitted).

       Here, these factors weigh in favor of the parties’ proposed redactions. There is no need

for public access to sensitive information about investigative techniques. The Court has

previously sealed transcripts and filings containing this information. And the government has

asserted a strong interest in keeping this information under seal.



                                       Respectfully submitted,


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                            CERTIFICATE OF SERVICE

I hereby certify that on September 23, 2019, I caused a copy of the foregoing filing to be

transmitted to Katherine Seikaly and Eric Dubelier, counsel of record for Concord

Management and Consulting LLC, via email.



                                                     By: /s/
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